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				CARROLL v. CAPITOL ONE AUTO FINANCE, INC.2015 OK CIV APP 27346 P.3d 444Case Number: 113028Decided: 02/13/2015Mandate Issued: 03/23/2015DIVISION ITHE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION I
Cite as: 2015 OK CIV APP 27, 346 P.3d 444

				

AMANDA CARROLL, Petitioner,v.CAPITOL ONE AUTO FINANCE, 
INC., Respondent,andAMERICAN ZURICH INSURANCE CO., Insurance 
Carrier.

PROCEEDING TO REVIEW AN ORDER OF THE WORKERS'COMPENSATION 
COURT OF EXISTING CLAIMS
HONORABLE DAVID P. REID, TRIAL JUDGE

SUSTAINED

Donald E. Smolen, II, Jack Beesley, SMOLEN, SMOLEN &amp; ROYTMAN, PLLC, 
Tulsa, Oklahoma, for Petitioner,Daniel K. Zorn, Timothy E. Lurtz, COLLINS, 
ZORN &amp; WAGNER, Oklahoma City, Oklahoma, for Respondent.


Kenneth L. Buettner, Judge:
¶1 Petitioner Amanda Carroll seeks review of an order of the Workers' 
Compensation Court of Existing Claims, which found Carroll did not sustain a 
compensable injury. Respondent Capitol One Auto Finance (Employer) argued 
Carroll's injury was not compensable because it occurred in an area not 
controlled by Employer and where essential job functions are not performed. The 
trial court's decision is not against the clear weight of the evidence or 
contrary to law and we sustain.
¶2 In her Form 3, Carroll sought compensation for a single incident injury 
incurred September 26, 2013. Carroll asserted she injured her back and left 
ankle when she slipped in a puddle of water. Employer denied the injury was 
compensable.
¶3 Following trial held June 11, 2014, the trial court entered its Order 
Denying Compensability June 23, 2014. The court found that Carroll fell "in the 
building where [Employer's] office was located" and noted other companies had 
offices in the same building. The trial court further found Carroll was on a 
scheduled break and had gone downstairs to a cafeteria in the building to eat. 
As she was leaving the cafeteria to return to her office on the second floor, 
Carroll slipped in water in a walkway. The court noted Employer also had an 
office on the main floor where the cafeteria was, but that Employer "did not own 
or operate the cafeteria on the walk way (sic) where [Carroll] fell." The 
trial court noted that injuries occurring in common areas not owned or 
maintained by the employer are not compensable pursuant to 85 O.S.2011 §312(6). The trial 
court denied Carroll's claim.
¶4 We will sustain the trial court's decision unless it is against the clear 
weight of the evidence or contrary to law. 85 O.S.2011 §340(D). The evidence 
showed that Carroll was on a mandatory 15 minute break at the time of her fall. 
Employer leased office space in a building in Tulsa and Carroll's work station 
was on the second floor. Employer maintained a break room on the second floor, 
but Carroll had gone to the first floor to a cafeteria to eat during her break. 
Employer did not operate the cafeteria or require its employees to use it, but 
it had arranged for its employees to receive a 10% discount at the cafeteria. 
After Carroll finished eating, she left the cafeteria to walk back to her work 
station on the second floor. While walking she slipped in liquid and fell, 
injuring herself. The parties disputed whether Carroll's injury arose out of and 
in the course of her employment.
¶5 At the time of Carroll's injury, the Workers' Compensation Code provided, 
in pertinent part:

  
    The following shall not constitute a compensable injury under the 
    Workers' Compensation Code:. . . .6. An injury which occurs outside 
    the course of employment. Employment shall be deemed to commence when an 
    employee arrives at the employee's place of employment to report for work 
    and shall terminate when the employee leaves the employee's place of 
    employment, excluding areas not under the control of the employer or 
    areas where essential job functions are not performed; provided, 
    however, when the employee is instructed by the employer to perform a 
    work-related task away from the employee's place of employment, the employee 
    shall be deemed to be in the course of employment when the employee is 
    engaged in the performance of job duties directly related to the task as 
    instructed by the employer, including travel time that is solely related and 
    necessary to the employee's performance of the task. . . 
.
85 O.S.2011 § 312(6) 
(emphasis added) (repealed by Laws 2013, SB 1062, ch. 208, §171, eff. February 
1, 2014). We agree with Carroll that prior to the enactment of §312, her injury 
likely would have been compensable. But this statute has been interpreted to 
mean what it says, which is that an injury occurring in an area not under the 
control of the employer or where essential job functions are not performed is 
not compensable. See Leandro v. American Staffcorp, Inc., 2013 OK CIV APP 68, __ P.3d __; 
Intermedix Corp. v. Wolf, 2013 OK CIV APP 82, 313 P.3d 287 (cert. denied). 
We recognize that another division of the Oklahoma Court of Civil Appeals has 
reached the opposite result, but we find the correct analysis is in 
Leandro and Intermedix. See Carney v. DirecTV Group, Inc., 
2014 OK CIV APP 4, 316 P.3d 234. In this case, Carroll 
was injured in an area not controlled by Employer and in an area where essential 
job functions were not performed. Under either statutory basis, her injury did 
not arise out of and in the course of employment. The clear weight of the 
evidence supports the trial court's finding that Carroll's injury was not 
compensable. SUSTAINED.

GOREE, P.J., and BELL, J., concur.





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Civil Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2013 OK CIV APP 68, LEANDRO v. AMERICAN STAFFCORP, INC.Cited
&nbsp;2013 OK CIV APP 82, 313 P.3d 287, INTERMEDIX CORPORATION v. WOLFDiscussed
&nbsp;2014 OK CIV APP 4, 316 P.3d 234, CARNEY v. DIRECTV GROUP, INC.Discussed
Title 85. Workers' Compensation
&nbsp;CiteNameLevel

&nbsp;85 Ohio St. 312, Repealed by Laws 2013, SB 1062, c. 208, § 171, eff. February 1, 2014Discussed
&nbsp;85 Ohio St. 340, Repealed by Laws 2013, SB 1062, c. 208, § 171, eff. February 1, 2014Cited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
